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Eastern District of Weshingioh ane DISTRCT Ce WAS niaroy
Thomas J. Hanlon 2 MAR OT 2 any
Assistant U.S. Attorne ' als
402 E. Yakima Ave., Ste. 210 BEAN F eavOY, Clerc
Yakima, WA 98901-2760 TART ep GPE
Tel. (509) 454-4425 |
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON
1:18-CR-2016-LRS
UNITED STATES OF AMERICA, INDICTMENT .
a Vio: 18 U.S.C. 3 L3@@), 1153 -
Plaintiff, Crime on Indian Reservation, Assault
with a Dangerous Weapon (Count 1)
Vv. Vio: 18 U.S.C. eee) =
Discharge of a Firearm During a Crime of
Violence (Count 2)
RAYMOND ZACK GUERRERO-
GARCIA,
Defendant.
The Grand Jury charges that:
COUNT 1
On or about May 18, 2017, in the Eastern District of Washington, within the

external boundaries of the Yakama Nation Indian Reservation, in Indian Country, the
Defendant, RAYMOND ZACK GUERREGO-GARCIA, an Indian, did assault P.R. with
a dangerous weapon, to wit, a firearm, with intent to do bodily harm, in violation of 18 |

U.S.C. §§ 113(a)(3), 1153.

COUNT 2
On or about May 18, 2017, in the Eastern District of Washington, within the
external boundaries of the Yakama Nation Indi in Reservation, in Indian Country, the
Defendant, RAYMOND ZACK GUERREG@O-GARCIA, an Indian, did knowingly use,

carry, brandish, and discharge a firearm during and in relation to a crime of violence for

Indictment 1

 
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which he may be prosecuted in a court of the United States, to wit: Assault with a
Dangerous Weapon, in violation of 18 U.S.C. §§ 113(a)(3), 1153, as charged in Count
One, all in violation of 18 U.S.C. § 924(c)(1)(A) Gi).

DATED this 13th day of March, 2018.

A TRUE BILL

 

Presiding Juror

JOSEPH H. HARRINGTON
United States Attorney

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Thom
Assistant United States Attorney

Indictment 2

 

 
